USCA4 Appeal: 25-1397    Doc: 6          Filed: 04/16/2025       Pg: 1 of 1



                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                          1100 East Main Street, Suite 501, Richmond, Virginia 23219

                                             April 16, 2025

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                                     RESPONSE REQUESTED
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        No. 25-1397 (L), Jefferson Griffin v. Allison Riggs
                         5:24-cv-00731-M-RJ

        TO:    Jefferson Griffin

        RESPONSE DUE: 04/21/2025

        Response is required to the motion for stay pending appeal and injunctive relief
        pending appeal on or before 5:00 pm on 04/21/2025.

        Rachel Phillips, Deputy Clerk
        804-916-2702
